
44 So. 3d 660 (2010)
Roy Lee ICON, III, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-1417.
District Court of Appeal of Florida, Fifth District.
September 24, 2010.
James S. Purdy, Public Defender, and Susan A. Fagan, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Douglas T. Squire, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Roy Lee Icon, III appeals his convictions of two counts of aggravated battery and one count of robbery with a firearm. Icon contends that convicting him of two counts of aggravated battery for a single act against a single victim violates double jeopardy principles. The State properly concedes error. Accordingly, we vacate one of Icon's aggravated battery convictions. We find no merit in the other issues raised by Icon and affirm his other conviction of aggravated battery and robbery with a firearm.
AFFIRMED in part; REVERSED in part; and REMANDED.
SAWAYA, PALMER and ORFINGER, JJ., concur.
